                                                                                    FILED
                     UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF NORTH CAROLINA                              MAR 1 8 2020
                            WESTERN DIVISION

                                 NO. 5:19-CR-331-4BO


UNITED STATES OF-AMERICA                       )
                                               )
            V.                                 )      INFORMATION
                                               )
JORDAN DEAN MILLER                             )

                                    COUNT ONE


      On or about September 11, 2018, in the Eastern District of North Carolina and

elsewhere, the defendant, JORDAN DEAN MILLER, aiding and abetting M.S.M., did ·

knowingly possess an identification document, to wit a birth certificate and social

security card, with the intent the document or feature be used to defraud the United

States, and the identification document was not issued lawfully for the use ofM.S.M.

      All in violation of Title 18, United States Code, Section l028(a)(4), and Title 18,

United States Code, Section 2.




ROBERT J. HIGDON, JR.
United States Attorney



~~~f•r
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